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                             UNITED STATES DISTRICT COURT
14                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
16    THERESA SWEET, et al.,
                                                         No. 3:19-cv-03674-WHA
17                      Plaintiffs,
18           v.
19                                                       JOINT STATUS REPORT
      MIGUEL CARDONIA, in his official capacity
20    as Secretary of Education, and the UNITED
      STATES DEPARTMENT OF EDUCATION
21
                        Defendants.
22
23
24
            On July 31, 2022, the Court entered an order requiring the parties to provide a joint
25
     statement answering three questions. ECF No. 299. The parties respond to the numbered questions
26
     as follows.
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28


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 1
 2   Question One: Whether the class-member relief recited in Paragraph IV.A of the proposed
 3   settlement agreement qualifies as an “approved” or “successful” borrower defense claim as
 4   contemplated by 34 C.F.R. Sections 685.206, 685.222, and 685.308.
 5          Response: No. Settlement relief does not constitute an approved or successful borrower
 6
            defense claim for purposes of 34 C.F.R. Sections 685.206, 685.222, and 685.308. Class
 7
            members covered by Paragraph IV.A of the proposed settlement agreement will instead
 8
            receive Full Settlement Relief, as defined in Paragraph II.S of the proposed settlement
 9
            agreement, in compromise of their borrower defense claims. See Proposed Settlement
10
            Agreement ¶ II.S, ECF No. 246-1 (“Proposed Agreement”).
11
12
     Question Two: If the relief in Paragraph IV.A does not qualify as a successful borrower defense
13
     claim, where the proposed settlement explicitly (or implicitly) recognizes that fact.
14
15          Response:     The Proposed Agreement implicitly recognizes that settlement relief is

16          different from a successful borrower defense claim. It refers to the relief described in

17          Paragraph IV.A as “Full Settlement Relief,” as explicitly defined in the agreement.

18          Paragraph IV.A does not reference the Department of Education’s borrower defense

19          regulations. In specifying the notice that must be provided to class members, the Proposed
20          Agreement requires that class members be notified that they “will receive Full Settlement
21          Relief, as defined in the Agreement.” Proposed Agreement ¶ IV.A.3. The relief specified
22          in Paragraph IV.A does not require the Department to provide a class member with a
23          decision “approving” the class member’s claim. To the extent the Proposed Agreement
24          references “decisions,” it defines such decisions as “approving or denying settlement relief
25
            to a borrower under the terms of this Agreement,” id. ¶ II.O, not approving or denying
26
            claims through the regulatory process. This is in contrast to Post-Class Applicants, who
27
            will receive “a final decision on the merits” of their borrower defense claims according to
28
            “the standards in the borrower defense regulations.” Id. ¶ IV.D.1.

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 1   Question Three:        Whether the proposed settlement agreement explicitly (or implicitly)
 2   recognizes, as the Department declarant asserts, that “[i]n any action or proceeding that the
 3   Department might take in the future against an institution . . . the fact that an institution is included
 4   on Exhibit C to the Settlement Agreement does not itself provide any evidentiary support or basis
 5   for initiating such action[.]”
 6
             Response: The Proposed Agreement represents a comprehensive resolution of the claims
 7
     at issue in this litigation, regarding the Department’s processing of borrower defense applications
 8
     submitted by class members. It provides a framework for the Department to resolve those
 9
     applications and provide relief to class members on terms specified in the Proposed Agreement.
10
     The Proposed Agreement does not address the Department’s relationship with the institutions
11
     named in the underlying borrower defense claims. That relationship is defined by statute and
12
     regulation, and any “action or proceeding that the Department might take in the future against an
13
     institution” must be in accordance with the Department’s governing regulations—which include
14
15   specific procedures, standards, and other requirements that define how the Department fulfills its

16   regulatory role vis-à-vis regulated institutions. See 34 C.F.R. § 668.87; see also 34 C.F.R. part

17   668, subparts G & H; Proposed Agreement ¶ XVI.B (Agreement “shall be construed in a manner

18   to ensure its consistency with Federal law”). The Department’s declaration clarified what was

19   already true as a legal matter and implicit in the structure of the Proposed Agreement: that merely
20   appearing on Exhibit C itself imposes no legal consequences on the listed schools. For those
21   schools, any hypothetical sanction in the future would proceed in accordance with the procedures
22   and standards specified in the Department’s governing regulations and would be based on findings
23   supported by independent evidence relevant to applicable regulatory standards. That is, any future
24   findings or disciplinary proceedings would not be based, in whole or in part, on the mere fact of
25
     an institution’s inclusion in Exhibit C.
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 1   Dated: August 2, 2022                     Respectfully submitted,
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